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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


HAYLEY GRAHAM                                              CIVIL ACTION

V.                                                         CASE NO. 17-4969

SOUTHWEST CREDIT SYSTEMS, L.P.                             SECTION "H"(2)


                              ORDER OF DISMISSAL

      The Court having been advised by counsel for the plaintiff that all parties have
agreed upon a compromise in this matter (Rec. Doc. 19);
      IT IS ORDERED that this action be and it is hereby dismissed as to all
parties, without costs and without prejudice to the right, upon good cause shown,
within sixty days, to reopen the action if settlement is not consummated. In addition,
the Court specifically retains jurisdiction to enforce the settlement agreement if
settlement is not consummated in sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen
v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality House, Inc.
v. Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).
      COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN
SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT
TO APPEAR.


                New Orleans, Louisiana, this 9th day of March, 2018.


                        ________________________________
                        JUDGE JANE TRICHE MILAZZO
                       UNITED STATES DISTRICT JUDGE
